Case 3:09-cr-30098-DRH     Document 58     Filed 03/19/10   Page 1 of 1    Page ID #207




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

 Plaintiff,

 v.

 GREGORY STURGEON,

 Defendant.                                                 No. 09-30098-DRH

                                       ORDER

 HERNDON, Chief Judge:

              Before the Court is a Motion to Leave Southern District of Illinois (Doc.

 57) filed by Defendant Gregory Sturgeon. Defendant Sturgeon states that he is to

 voluntary surrender to the Federal Incarceration Institution in Memphis, Tennessee

 on March 25, 2010 and asks for permission from the Court to leave the Southern

 District of Illinois in order to voluntarily surrender. Defendant’s probation officer

 has consented to the motion.     Based on the reasons in the motion, the Court

 GRANTS Defendant’s motion to leave Southern District of Illinois (Doc. 57).

 Defendant has permission to leave this District in order to self-surrender in

 Memphis, Tennessee.

              IT IS SO ORDERED.

              Signed this 19th day of March, 2010.

                                               /s/ DavidRHer|do|
                                               Chief Judge
                                               United States District Court
